                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                                 )
                                                         )
                                                         )
v.                                                       )   Criminal No. 3:10-00163
                                                         )   Judge Trauger
[10] DESHAUNE JONES                                      )
                                                         )

                                            ORDER

        The Defendant’s Motion For Clarification of Sentence (Docket No. 1979) is GRANTED.

The court sentenced the defendant to 120 months of custody in the Bureau of Prisons, which was

a substantial variance downward from the advisory guideline range of 188-235 months. The

court did not state that this time was to run concurrent with any state time, and the court did not

intend that it do so.

        The record reflects that the defendant was “arrested” on June 30, 2010 by federal

authorities while he was in state custody serving a probation violation sentence in Davidson

County criminal case number 2009-I-42. The defendant was “borrowed” on a writ from the state

and presumably received credit toward the state time he was serving from June 30, 2010 until he

was sentenced by this court on May 25, 2012. This court in no way provided that he would also

be receiving federal credit for that same period of time.

        “[T]he power to grant credit for time served lies solely with the Attorney General and the

Bureau of Prisons.” United States v. Crozier, 259 F.3d 503, 520 (6th Cir. 2001) (citing 18

U.S.C. § 3585(b) and United States v. Wilson, 503 U.S. 329, 333 (1992)). Therefore, this court

lacks the authority to grant the defendant any relief.

        It is so ORDERED.



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      Enter this 2nd day of October 2013.



                                                 ___________________________________
                                                         ALETA A. TRAUGER
                                                       United States District Judge




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